Case 1:07-cr-20534-DPG Document 302 Entered on FLSD Docket 01/22/2010 Page 1 of 5




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 07-20534-CR-UNGARO/SIMONTON

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  VIVENS DELORME, et al.,

         Defendants.
                                      /

                       ORDER AFTER DISCOVERY CONFERENCE AND
                       HEARING ON PENDING DISCOVERY MOTIONS

         Presently pending before the Court are Defendant Delorme’s Motion For

  Disclosure of Codefendants’ Post-Arrest Statements (DE # 271), Defendant Munnings’

  Motion For Disclosure of Co-Defendant’s Post-Arrest Statements (DE # 272), and

  Defendant Munnings’ Request For Early Disclosure of Jencks Act Material (DE # 279).

  These motions have been referred to the undersigned Magistrate Judge (DE # 282). On

  January 21, 2010, the undersigned held a hearing on these motions and a discovery

  conference. At the hearing, the undersigned issued an oral ruling as to all disputed

  matters . All rulings made orally at the hearing are incorporated into this Order and are

  also set forth in the Order.

         A. The Motions For Disclosure of Codefendants’ Post-Arrest Statements

         At the hearing, counsel for the government stated that the statement of Defendant

  Munnings has been produced to Defendants Munnings and Delorme, and that

  statements made by Defendant Delorme during debriefings would be produced to

  Defendants Munnings and Delorme. Counsel for the government also stated that he will

  search again to ascertain that all post-arrest statements by Defendants Munnings and
Case 1:07-cr-20534-DPG Document 302 Entered on FLSD Docket 01/22/2010 Page 2 of 5




  Delorme have been produced.

         The undersigned noted that as Defendant Laing intended to plead guilty, that

  portion of Defendant Munnings’ motion seeking all post-arrest statements of Defendant

  Laing was moot. The undersigned also reminded the government that all Brady material,

  including but not limited to any statements of Defendant Laing, had to be produced to

  Defendants Munnings and Delorme as soon as it was identified.

         B. The Motion For Early Disclosure of Jencks Act Material

         In its response and at the hearing, counsel for the government stated that one

  week prior to trial, on March 8, 2010, it would provide all Jencks Act material relating to

  testifying charged co-conspirators and to testifying law enforcement agents. Counsel

  for the government stated that all statements of other civilian witnesses would be

  provided as soon as the jury was sworn, and that none of those witnesses would be

  testifying on the first day of trial.

         C. The Discovery Conference

         At the hearing, counsel for the government stated that on January 11, 2010, he

  had informed that District Court that in his statement, Defendant Munnings had

  mentioned Defendant Delorme approximately 200 times. The government does not

  intend to redact this statement to eliminate references to Defendant Delorme. Counsel

  for the government then stated that the government’s position was that Defendants

  Munnings and Delorme cannot be tried together before the same jury, although the

  government had not decided whether to request separate juries or separate trials. Both

  Defendant Delorme and Defendant Munnings also stated that they intended to file

  motions for severance by the January 29, 2010 deadline for filing motions.

         Counsel for the government also stated that the government was reviewing

                                               -2-
Case 1:07-cr-20534-DPG Document 302 Entered on FLSD Docket 01/22/2010 Page 3 of 5




  certain information to determine whether it fell within the scope of its Brady obligations,

  but that it could not, at this time: 1) describe the information; 2) state who would make

  the decision as to whether to turn over the information; or 3) whether the information

  would be submitted to the Court for in camera review. The undersigned then ordered

  the government, on or before January 29, 2010, to either file under seal any information

  on this material that they could file, or to disclose the information to defense counsel.

         Munnings’ counsel then raised concerns regarding the government’s revised

  transcript of Munnings’ statement, which he said differed greatly from the first transcript

  provided by the government. Counsel for the government offered to sit down with

  defense counsel and go over the transcripts and the DVD of the statement with him.

  Munnings’ counsel asked to be allowed to listen to the original DVD, with Defendant

  Munnings present. The undersigned ordered that counsel for the government, prior to

  January 29, 2010, permit Defendant Munnings’ counsel, in the presence of the

  government, to listen to the original DVD. The undersigned declined to require that

  Defendant Munnings be present, without prejudice to seek further relief if counsel could

  establish a basis for requiring Defendant Munnings’ access to the original recording.

         In response to Defendant Munnings’ question as to whether all evidence of

  identification procedures had been produced, counsel for the government stated that

  there had been a six-photo lineup and an identification of Munnings, evidence of which

  had been previously provided, but that the evidence would be resent.

         Defendant Munnings then noted that the government had just provided a DVD

  containing telephone records and other documents. Counsel for the government stated

  that the government had not provided defense counsel with an inventory of what

  documents were on the DVD, but that the DVD contained: phone records for “Killer

                                              -3-
Case 1:07-cr-20534-DPG Document 302 Entered on FLSD Docket 01/22/2010 Page 4 of 5




  Boy”; other toll records; subscriber information; some cell site information; autopsy

  reports; crime scene reports and an additional copy of Defendant Munnings’ post-arrest

  statement to the Miami-Dade Police Department.

         With respect to the phone records, the government stated that it intended to

  introduce summary or demonstrative exhibits which analyze those call. Therefore, the

  government is ordered to provide those exhibits to defense counsel on or before

  January 28, 2010 at noon. In addition, the government advised the Court that it was

  providing draft transcripts of approximately ten to twenty prison calls which it intended

  to introduce into evidence, and that it would provide any summaries of the remaining

  calls which were in its possession. The recordings of these calls have been provided to

  defense counsel. The government is required to provide final transcripts to defense

  counsel on or before January 28, 2010 at noon if the government intends to introduce

  those transcripts as exhibits in its case-in-chief at trial.

         The government also stated that it would provide to Defendants any undocketed

  letters from Defendant Munnings which were in its possession.

         Therefore, based upon a review of the record as a whole, including the

  information conveyed at the discovery hearing, it is hereby

         ORDERED AND ADJUDGED that Defendant Delorme’s Motion For Disclosure

  of Codefendants’ Post-Arrest Statements (DE # 271), Defendant Munnings’ Motion For

  Disclosure of Co-Defendant’s Post-Arrest Statements (DE # 272), and Defendant

  Munnings’ Request For Early Disclosure of Jencks Act Material (DE # 279), are




                                                 -4-
Case 1:07-cr-20534-DPG Document 302 Entered on FLSD Docket 01/22/2010 Page 5 of 5




  GRANTED in part, as stated in the body of the Order.

        DONE AND ORDERED in chambers in Miami, Florida on January 22, 2010.




                                                ANDREA M. SIMONTON
                                                UNITED STATES MAGISTRATE JUDGE

  Copies furnished to:
  The Honorable Ursula Ungaro,
         United States District Judge
  All counsel of record




                                          -5-
